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                         IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
                                  SEATTLE DIVISION

 In re Subpoena Issued to                          §
                                                                  Misc. No 2:22-mc-00069-RSL
 Dave’s Redistricting App,                         §

 REPRESENTATIVE JACEY JETTON and                   §
 ADAM FOLTZ,                                       §
                                                   §
           Movants,                                §
                                                   §
 V.                                                §
                                                   §
 UNITED STATES OF AMERICA,                         §
                                                   §
           Respondent.                             §

                                               ORDER

        Before the Court is Representative Jacey Jetton and Adam Foltz’s opposed emergency motion

to stay; unopposed motion to transfer to consolidated cases; or in the alternative opposed motion to

quash. The motion is GRANTED IN PART.

        This matter is TRANSFERRED to the Western District of Texas, El Paso Division, to be

consolidated with League of United Latin American Citizens v. Abbott, No. 3:21-cv-259 (W.D. Tex.).

        Execution of the subpoena duces tecum issued to Dave’s Redistricting App by the United States

is ADMINISTRATIVELY STAYED. Both the motion to stay and the motion to quash will remain

pending.

        SO ORDERED.



Signed this __ day of August, 2022

                                                                               _________________

                                       United States District Judge, Western District of Washington
